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                                          United States Bankruptcy Court
                                                District of Delaware
In re:   YELLOW CORPORATION, et al.,                                )
                          Debtor                                    )
                                                                    )       Case No.: 23-11069-CTG
         ROGER KEEF, on behalf of himself and all others            )
         similarly situated,                                        )
                               Plaintiff                            )       Chapter: 11
                  v.                                                )
                                                                    )
         YELLOW CORPORATION, YRC INC.                   ,           )       Adv. Proc. No.: 23-50458-CTG
         (d/b/a YRC FREIGHT)                                        )
                             Defendant                              )
                          SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                        IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this
summons with the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

                   Address of Clerk:
                                       824 Market Street, 3rd Floor
                                       Wilmington, DE 19801

At the same time, you must also serve a copy of the motion or answer upon the plaintiff’s attorney.

                   Name and Address of Plaintiff’s Attorney
                                                     Ian Connor Bifferato
                                                      The Bifferato Firm
                                                 1007 N. Orange Street, 4th Fl
                                                    Wilmington, DE 19801
If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will
be held at the following time and place.

                   Address:       824 N Market Street, Wilmington, DE 19801
                   Room:          3rd Fl Courtroom #7
                   Date and Time: 9/14/23 2pm ET




IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT
MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



United States Bankruptcy
 Court for the District
     of Delaware                                                            /s/ Una O’Boyle
                                                                        Clerk of the Bankruptcy Court
Date: 8/9/2023___________________
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